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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


  UNITED STATES OF AMERICA

         v.                                             No. 19-cr-10195-WGY

  HAOYANG YU, et al.


      DEFENDANTS HAOYANG YU AND TRICON MMIC, LLC’S SUBMISSION
        IN ADVANCE OF DECEMBER 16, 2021 PRETRIAL CONFERENCE

       Defendants Haoyang Yu and Tricon MMIC, LLC respectfully make this submission in

advance of the December 16, 2021 Pretrial Conference, to identify certain pending issues for

consideration by the Court and to respond, in part, to the prosecution’s trial brief, filed yesterday.

D.E. #160.

                                           Introduction

       Mr. Yu and Tricon have pleaded not guilty to the Second Superseding Indictment. D.E.

#137. They are presumed innocent and dispute the prosecution’s tendentious characterization of

the evidence. At most, this case could and should have been handled as a civil dispute between

Mr. Yu and his former employer, Analog Devices, Inc. (“ADI”), a billion-dollar, multi-national

semiconductor company, concerning Mr. Yu’s alleged misuse of ADI’s corporate data and his

creation of Tricon, a home-based, start-up business, one that produced small quantities of

monolithic microwave integrated circuits (MMICs), commodity electronic parts based on 1980s

technology. But, instead, driven by the DOJ’s racist “China Initiative” and investigators’ apparent

self-serving desire to justify the boundless resources expended chasing phantom suspicions of

Chinese espionage, the prosecution has conjured overwrought criminal charges against Mr. Yu,

his company, and his wife, co-defendant Yanzhi Chen, that neither its overblown rhetoric


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regarding national security nor its needlessly complex proposed trial presentation can sustain.

I.      Motions

        A number of motions, including dispositive motions and evidentiary motions, are currently

pending. These include:

        1.      Defendants’ Motion to Dismiss Indictment Due to Unconstitutional Selective
                Enforcement and Prosecution, D.E. #55-56; D.E. #89 (taken under advisement);

        2.      Defendant’s Renewed Motion for Franks Hearing, D.E. #106 (filed and opposed);

        3.      Defendants’ Motion Dismiss Counts 15 and 16 [i.e., export charges], D.E. #150-51
                (filed but not yet opposed);

        4.      Defendants’ Motion for Relief from Misjoinder of Counts or, Alternatively,
                Severance, D.E. #125-26; D.E. #129 (denied without prejudice to further
                consideration as case management matter); and

        5.      Defendants’ Motions in Limine to Exclude Anticipated Prosecution Evidence (filed
                but not yet opposed), specifically:

                a.      Communications or Other Interactions with Aselsan, D.E. #154;

                b.      Legal Matters Concerning Export Controls, D.E. #155;

                c.      Ex Post Facto License “Determinations” by BIS, D.E. #156;

                d.      “Materiality” of Statements in Naturalization Proceedings, D.E. #157;

                e.      Testimony by Robert Broughton, D.E. #158.

Additional defense motions in limine are likely to be filed as the prosecution continues to make

pretrial disclosures of its anticipated trial presentation.

        In its trial brief, D.E. #160, the prosecution indicated that it will offer expert testimony, but

with one exception (Christopher Nordquist, of Sandia National Laboratories), the prosecution has

failed to comply with its pre-trial disclosure obligations: providing a meaningful summary of the

witness’s testimony (as opposed to a bare list of topics) and stating the “basis and reasons” for his

or her conclusions. See Fed. R. Crim. P. 16(a)(1)(G). Nor has the prosecution satisfied its burden,

as the party offering expert evidence, to establish that the methods used and conclusions reached

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by its experts are scientifically reliable. See Fed. R. Evid. 702, 703.

        The prosecution also states that it will object to certain evidence, if offered by Mr. Yu or

Tricon at trial, but the prosecution has not filed any motions in limine or provided any legal

support. Based on its trial brief, the prosecution’s arguments appear to lack merit. For example,

evidence of bias – ethnic or otherwise – on the part of investigators and other witnesses is always

relevant to credibility, which the jury must assess. Evidence about “reverse engineering” is

relevant to the trade secret charges because it tends to rebut two elements: that ADI’s MMICs do

not constitute or contain “trade secrets” and that Mr. Yu did not obtain any of ADI’s technology

through “improper means.” Evidence that BIS itself misclassified one of Tricon’s MMICs (first

determining it was “controlled” but later deciding no license was required) is similarly relevant

because it demonstrates that export controls are complex and vague and, thus, tends to rebut the

mens rea element: that Mr. Yu or Tricon willfully violated any applicable export regulations.

Evidence that ADI did not pursue civil remedies against Mr. Yu tends to undermine the

prosecution’s assertion that the allegedly “stolen” information was particularly valuable to ADI or

that it suffered significant financial losses.

        Finally, the prosecution states that it will not seek to admit “other bad acts” evidence

pursuant to Fed. R. Evid. 404(b) but “will seek agreement that matters such as evidence of theft

and loss beyond the four corners of the SSI and the defendant’s use of pseudonyms are directly

relevant to loss, motive, and consciousness of guilt.” To date, the prosecution has not yet requested

any such “agreements” with the defense. And, for example, Mr. Yu’s use of an Americanized

“nickname” in business interactions (“Jack Yu”) is a commonplace, not probative of anything

relevant to the pending charges. Indeed, the suggestion that this practice was deceptive is itself

disingenuous.



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II.    Insufficient Pretrial Disclosures

       The trial brief identifies numerous “categories” of witnesses and exhibits, suggesting that

the prosecution anticipates a lengthy and complex trial presentation that it may have difficulty

completing in 2-3 weeks, even if the Court intends to sit for full days. Notably, the prosecution has

not yet provided an actual witness list, exhibit list, proposed exhibits, or Jencks material, even

though trial is scheduled to begin in just over a month.

       In addition, as noted above, the prosecution has failed to make adequate pretrial disclosures

concerning several witnesses who will be called to provide expert testimony. These include:

       1.     ADI employee (Robert Broughton, about ADI’s alleged “trade secrets” and his
              technical comparisons of ADI’s MMICs and files with Tricon’s);

       2.     BIS official (Carlos Monroy, about the meaning of the EAR and its application to
              Tricon’s MMICs and/or GDS files);

       3.     CIS official (Mirella Tiberi, the “materiality” of alleged false statement during
              naturalization proceedings);

       4.     Former DOD official (Robert Outzen, the connection between Aselsan, which the
              prosecution contends was a customer of Tricon, and the Turkish military); and

       5.     Computer forensic analysts (Christopher Beckstrom (FBI) and Stephen LaForest
              (DOC) concerning analysis of seized electronic devices and online accounts).

The first four are already the subjects of motions in limine, noted above. The defense is engaged

in ongoing discussions with the prosecution about the computer forensic evidence and evaluating

whether a motion may also be necessary concerning that proposed testimony.

       Finally, in its trial brief, the prosecution states that at trial, it plans to use various

“summaries,” as exhibits under Fed. R. Evid. 1006 or chalks under Fed. R. Evid. 611. To date,

however, the prosecution has not identified the proposed “summaries” or the specific evidence on

which they are purportedly based, both of which are required by the evidentiary rules and also

necessary for the defense to evaluate and, if necessary, challenge the proffered summaries.


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III.   Sentencing Issues

       To the extent that the prosecution intends to offer evidence that is relevant only to

sentencing issues (e.g., evidence concerning alleged losses to ADI and Mr. Yu’s “statements about

future plans for the enterprise,” see U.S.S.G. § 2B1.1(b)(1), and evidence concerning alleged

interactions with Aselsan in Turkey, see U.S.S.G. § 2B1.1(b)(14)), this Court should bifurcate the

trial to avoid unfair prejudice, so that the jury first decides whether Mr. Yu or Tricon is guilty of

any charged offense and, only then, whether the prosecution has proven facts that might warrant

application of any arguably applicable enhancements.

       Moreover, the defense expects to challenge the prosecution’s proffered theories of

relevance concerning these enhancements. For example, ADI’s purported costs to develop MMICs

are marginally relevant, at best, where Mr. Yu did not deprive ADI of those products; rather, the

appropriate measure of “loss” would be sales, if any, of those products by Tricon that otherwise

would have gone to ADI. And evidence on these topics would surely involve contested expert

testimony based on non-public corporate data, which government has not disclosed. Separately,

the fact that a Turkish government entity may have purchased a Tricon MMIC allegedly produced

with ADI trade secrets does not establish that Mr. Yu transmitted the trade secret, itself, to benefit

the foreign government. The customer allegedly obtained an end-product from Tricon, not a trade

secret, and it could have bought a functionally identical product directly from ADI itself or myriad

third party resellers; the only unique “benefit,” economic or otherwise, was allegedly conferred

upon Mr. Yu and Tricon.

IV.    Other Matters

       The defense team would like to discuss trial logistics, including whether the Court

anticipates sitting for full or half days, as well as courtroom configuration and jury selection

procedures in light of the COVID-19 pandemic. In addition, the defense would propose that the

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Court employ a written juror questionnaire to facilitate voir dire on sensitive issues including

possible racial or ethnic bias as well juror concerns about service during the pandemic.

       Finally, while the defense is prepared to proceed with trial, recent pandemic trends,

including rapidly rising case numbers and test positivity rate in Massachusetts, even among the

vaccinated, are a cause for grave concern. Given the anticipated length and complexity of this trial

and the number of anticipated witnesses, some from out-of-state, a possible mistrial due to COVID

infection of a party, counsel, witness, juror, or court staff member would be extremely disruptive

and costly. As the Court may be aware, in United States v. Andrade, No. 18-cr-10364-DPW, a

government witness recently tested positive, prompting to the court to suspend ongoing jury

selection and postpone the trial to March. We would like to discuss with the Court what further

public health developments or thresholds, prior to commencement of trial, may yet dictate a

continuance as a prudential matter. In addition, we note that severing the case, as Mr. Yu had

proposed, would not only avoid the prejudicial effects of joinder he identified but also reduce the

risk of COVID mistrial by condensing and simplifying the trial presentation.

                                              Respectfully submitted,

                                              HAOYANG YU and
                                              TRICON MMIC, LLC

                                              by their attorneys,

                                                     /s/ William W. Fick
                                              William W. Fick (BBO #650562)
                                              Daniel N. Marx (BBO #674523)
                                              Amy Barsky (BBO #601111)
                                              FICK & MARX LLP
                                              24 Federal Street, 4th Floor
                                              Boston, MA 02110
                                              (857) 321-8360
                                              wfick@fickmarx.com
                                              dmarx@fickmarx.com
                                              abarsky@fickmarx.com

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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper
copies will be sent to those indicated as non-registered participants on December 16, 2021.

                                              /s/ William W. Fick




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